USCA4 Appeal: 1@a8e92:16-De003882-JKB DOeumen0@@201FiledraP/DW12 Page 1 of @tal Pages:(3 of 3)

FILED: February 6, 2019

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

 

 

No. 18-4292
(1:16-cr-00363-JKB-8)

 

UNITED STATES OF AMERICA
Plaintiff - Appellee

Vv.
NORMAN TYRONE HANDY, a/k/a Lil Norm, a/k/a Norm

Defendant - Appellant

 

JUDGMENT

 

In accordance with the decision of this court, this appeal is dismissed.
This judgment shall take effect upon issuance of this court's mandate in
accordance with Fed. R. App. P. 41.

/s/ PATRICIA S. CONNOR, CLERK
USCA4 Appeal: 16a$29?:16-Be00S8S-JIKB DdladneeOee201Biledtw/Om18 Page 2 of gtal Pages:(1 of 3)

FILED: February 6, 2019

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

No. 18-4292, US v. Norman Handy
1:16-cr-00363-JKB-8

 

NOTICE OF JUDGMENT

 

Judgment was entered on this date in accordance with Fed. R. App. P. 36. Please be
advised of the following time periods:

PETITION FOR WRIT OF CERTIORARI: To be timely, a petition for
certiorari must be filed in the United States Supreme Court within 90 days of this
court's entry of judgment. The time does not run from issuance of the mandate. If a
petition for panel or en banc rehearing is timely filed, the time runs from denial of
that petition. Review on writ of certiorari is not a matter of right, but of judicial
discretion, and will be granted only for compelling reasons.
(www.supremecourt.gov)

VOUCHERS FOR PAYMENT OF APPOINTED OR ASSIGNED
COUNSEL: Vouchers must be submitted within 60 days of entry of judgment or
denial of rehearing, whichever is later. If counsel files a petition for certiorari, the
60-day period runs from filing the certiorari petition. (Loc. R. 46(d)). If payment is
being made from CJA funds, counsel should submit the CJA 20 or CJA 30 Voucher
through the CJA eVoucher system. In cases not covered by the Criminal Justice
Act, counsel should submit the Assigned Counsel Voucher to the clerk's office for
payment from the Attorney Admission Fund. An Assigned Counsel Voucher will
be sent to counsel shortly after entry of judgment. Forms and instructions are also
available on the court's web site, www.ca4.uscourts.gov, or from the clerk's office.

BILL OF COSTS: A party to whom costs are allowable, who desires taxation of
costs, shall file a Bill of Costs within 14 calendar days of entry of judgment. (FRAP
39, Loc. R. 39(b)).
 

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PETITION FOR REHEARING AND PETITION FOR REHEARING EN
BANC: A petition for rehearing must be filed within 14 calendar days after entry of
judgment, except that in civil cases in which the United States or its officer or

agency is a party, the petition must be filed within 45 days after entry of judgment.
A petition for rehearing en banc must be filed within the same time limits and in the
same document as the petition for rehearing and must be clearly identified in the
title. The only grounds for an extension of time to file a petition for rehearing are
the death or serious illness of counsel or a family member (or of a party or family
member in pro se cases) or an extraordinary circumstance wholly beyond the

control of counsel or a party proceeding without counsel.

Each case number to which the petition applies must be listed on the petition and
included in the docket entry to identify the cases to which the petition applies. A
timely filed petition for rehearing or petition for rehearing en banc stays the
mandate and tolls the running of time for filing a petition for writ of certiorari. In
consolidated criminal appeals, the filing of a petition for rehearing does not stay the
mandate as to co-defendants not joining in the petition for rehearing. In
consolidated civil appeals arising from the same civil action, the court's mandate
will issue at the same time in all appeals.

A petition for rehearing must contain an introduction stating that, in counsel's
judgment, one or more of the following situations exist: (1) a material factual or
legal matter was overlooked; (2) a change in the law occurred after submission of
the case and was overlooked; (3) the opinion conflicts with a decision of the U.S.
Supreme Court, this court, or another court of appeals, and the conflict was not
addressed; or (4) the case involves one or more questions of exceptional
importance. A petition for rehearing, with or without a petition for rehearing en
banc, may not exceed 3900 words if prepared by computer and may not exceed 15
pages if handwritten or prepared on a typewriter. Copies are not required unless
requested by the court. (FRAP 35 & 40, Loc. R. 40(c)).

MANDATE: In original proceedings before this court, there is no mandate. Unless
the court shortens or extends the time, in all other cases, the mandate issues 7 days
after the expiration of the time for filing a petition for rehearing. A timely petition
for rehearing, petition for rehearing en banc, or motion to stay the mandate will stay
issuance of the mandate. If the petition or motion is denied, the mandate will issue 7
days later. A motion to stay the mandate will ordinarily be denied, unless the
motion presents a substantial question or otherwise sets forth good or probable
cause for a stay. (FRAP 41, Loc. R. 41).

 

 
